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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                              CASE NO. 20-23598-CV-WILLIAMS

   R.Y.M.R. and ERIC MATUTE CASTRO,

          Plaintiffs,

   v.

   UNITED STATES OF AMERICA,

        Defendant.
   __________________________________/

                                              ORDER

          THIS MATTER is before the Court on the Motion for Approval of Settlement (DE

   133) (“Motion”) filed by Plaintiffs Eric Matute Castro, on his own behalf and on behalf of

   his minor son R.Y.M.R. (together, “Plaintiffs”). In the Motion, Plaintiffs request that the

   Court approve the Parties’ Stipulation for Compromise Settlement and Release of Federal

   Tort Claims Act Claims Pursuant to 28 U.S.C. § 2677 (DE 133-1) (“Stipulation”). (DE

   133.) Defendant the United States of America (“Defendant”) filed a Notice of Non-

   Objection to Plaintiffs’ Motion for Approval of Settlement. (DE 134.)

          Upon review of the Motion, the Stipulation, the record, and applicable law, the

   Court finds that the Stipulation is in the best interest of Plaintiff R.Y.M.R. Accordingly, it is

   ORDERED AND ADJUDGED as follows:

          1. Plaintiffs’ Motion (DE 133) is GRANTED.

          2. The Parties’ Stipulation (DE 133-1) is APPROVED.




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           3. Sintia Vanessa Ramirez is APPOINTED as guardian for the property and shall

              hold R.Y.M.R.’s portion of the settlement in a guardianship account until

              R.Y.M.R. is eighteen (18) years of age. See Fla. Stat. § 744.387(3)(b).

           4. Plaintiffs’ claims against Defendant are DISMISSED WITH PREJUDICE, and

              each party shall bear its own attorneys’ fees and costs.

           5. All pending motions are DENIED AS MOOT.

           6. The Clerk of Court shall CLOSE this case.

           DONE AND ORDERED in Chambers in Miami, Florida, this 5th day of September,

   2023.




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